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14
                                     UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                          OAKLAND DIVISION
17
18
      EPIC GAMES, INC.,                                  No. 3:20-CV-05640-YGR
19
                                            Plaintiff,   DECLARATION OF KEVIN
20                                                       GAMMILL IN FURTHER SUPPORT
                             vs.                         OF PLAINTIFF EPIC GAMES, INC.’S
21                                                       MOTION FOR A TEMPORARY
      APPLE INC.,                                        RESTRAINING ORDER AND ORDER
22                                                       TO SHOW CAUSE WHY A
                                                         PRELIMINARY INJUNCTION
                                          Defendant.
23                                                       SHOULD NOT ISSUE

24                                                       Date: August 24, 2020, 3:00 p.m.
                                                         Courtroom: 1, 4th Floor
25
                                                         Judge: Hon. Yvonne Gonzalez Rogers
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28
      Declaration of Kevin Gammill                                        Case No. 3:20-cv-05640-YGR
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1           I, Kevin Gammill, declare as follows:
2           1.       I am the General Manager, Gaming Developer Experiences for Microsoft. In this
3    role, I oversee Microsoft’s support of game creators (including game developers, audio engineers,
4    level designers, game producers, etc.) within the Xbox ecosystem. Among other things, my team
5    helps game creators achieve their creative goals. I have been an engineer for more than 30 years,
6    including more than 20 years at Microsoft, and have more than 10 years of experience supporting
7    game creators across multiple platforms.
8           2.       Epic Games’ Unreal Engine is critical technology for numerous game creators
9    including Microsoft.
10                   (a)     Game engines provide creators with a development environment that
11   delivers the necessary graphics, rendering, physics, sound, networking, and other technologies
12   that enable them to build games that run on multiple platforms.
13                   (b)     Although some large game creators choose to develop their own
14   proprietary game engines, many others, including small and independent game creators, utilize
15   game engines built by and licensed from third parties.
16                   (c)     Many of these creators do not have the resources or capabilities to build
17   their own game engines and rely on the availability of third-party game engines, while other

18   creators may choose to use third-party game engines to save development costs and utilize

19   already-developed technologies.

20                   (d)     As a result, Epic’s Unreal Engine is one of the most popular third-party

21   game engines available to game creators, and in Microsoft’s view there are very few other options

22   available for creators to license with as many features and as much functionality as Unreal

23   Engine across multiple platforms, including iOS.

24                   (e)     Microsoft has an enterprise-wide, multi-year Unreal Engine license

25   agreement and has invested significant resources and engineer time working with and

26   customizing Unreal Engine for its own games on PC, Xbox consoles, and mobile devices

27   (including iOS devices).

28                          i.       For example, Microsoft’s racing game Forza Street is currently
      Declaration of Kevin Gammill                2                            Case No. 3:20-cv-05640-YGR
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1    available on iOS and utilizes Unreal Engine.
2             3.     Denying Epic access to Apple’s SDK and other development tools will prevent
3    Epic from supporting Unreal Engine on iOS and macOS, and will place Unreal Engine and those
4    game creators that have built, are building, and may build games on it at a substantial
5    disadvantage.
6                    (a)     Developing a game using different game engines for different platforms
7    may be prohibitively expensive and difficult. In any event, it is not as cost-effective as using a
8    game engine that supports different platforms.
9                    (b)     As a result, game creators, including Microsoft, that are preparing to
10   develop a game targeted at multiple platforms generally choose game engines based both on the
11   functionality they provide as well as their ability to support development for those platforms.
12                   (c)     If Unreal Engine cannot support games for iOS or macOS, Microsoft
13   would be required to choose between abandoning its customers and potential customers on the
14   iOS and macOS platforms or choosing a different game engine when preparing to develop new
15   games.
16                   (d)     Because iOS is a large and growing market for games, Apple’s
17   discontinuation of Unreal Engine’s ability to support iOS will be a material disadvantage for the

18   Unreal Engine in future decisions by Microsoft and other game creators as to the choice of an

19   engine for new games.

20                   (e)     Even uncertainty about the Unreal Engine’s ability to continue supporting

21   iOS and macOS will make it less likely for Microsoft (and, I believe, other game creators) to

22   select Unreal Engine for their projects. When game creators are planning development projects,

23   which can last for years, it is important to have confidence that the chosen engine will continue to

24   be available on and support all platforms on which the game creators plan to distribute their

25   games.

26            4.     Apple’s discontinuation of Epic’s ability to develop and support Unreal Engine for

27   iOS or macOS will harm game creators and gamers.

28                   (a)     For game creators in the later stages of development utilizing Unreal
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1    Engine and targeting the iOS and/or macOS platform, Unreal Engine’s sudden loss of support for
2    iOS and macOS would create significant costs and difficult decisions. The creator would have
3    significant sunk costs and lost time using Unreal Engine for game creation, and would have to
4    choose between (a) starting development all over with a new game engine, (b) abandoning the
5    iOS and macOS platforms, or (c) ceasing development entirely.
6                    (b)     Apple’s removal of Unreal Engine’s ability to develop updates and
7    improvements for iOS and macOS could also harm already-launched iOS and macOS games built
8    on Unreal Engine. If the game engine can no longer develop updates that take advantage of new
9    iOS or macOS features, fix software bugs, or patch security flaws, this will harm games that have
10   already launched on iOS and macOS (and, in turn, harm gamers). In addition, this situation could
11   bifurcate a game’s player base, such that gamers on iOS or macOS cannot play or communicate
12   with friends or family who are playing on other platforms.
13
14          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
15   and correct and that I executed this declaration on August 22, 2020 on Lopez Island, Washington.
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17                                                     /s/
                                                       Kevin Gammill
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